8 F.3d 809
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Dennis SCHNEIDER, Plaintiff, Appellant,v.Joseph S. TRETOLA, Etc., et al., Defendants, Appellees.
    No. 93-1686.
    United States Court of Appeals,First Circuit.
    October 20, 1993
    
      Appeal from the United States District Court for the District of Massachusetts
      Dennis Schneider on Motion for Summary Disposition pro se.
      James G. Healy and Healy and Healy, P.C. on Motion for Summary Disposition, for appellees Joseph S. Tretola, Brookside House, Inc., and Brookside House Trust.
      Kevin Madden on Motion for Summary Disposition, for appellee Wayne M. Gray.
      D.Mass.
      AFFIRMED.
      Before Cyr, Boudin and Stahl, Circuit Judges.
      Per Curiam.
    
    
      1
      Plaintiff's action was properly dismissed under Fed.  R. Civ. P. 12(b)(6) for failure to state a cause of action.
    
    
      2
      1. The defendants, all private persons, can not be held liable under 42 U.S.C. § 1983 for their alleged acts in employing "false representations and phony process to induce the policemen to falsely arrest" and imprison plaintiff because the private defendants' actions do not constitute "state action," a requisite of a § 1983 cause of action.   See Daniel v. Ferguson, 839 F.2d 1124, 1129-31 (5th Cir. 1988) (even if private defendant did provide police with false information, the state action requirement for § 1983 liability was not satisfied since "[p]olice reliance in making an arrest on information given by a private party does not make the private party a state actor").  Plaintiff's citation below to  Canty v. Richmond, 383 F. Supp. 1396 (E.D. Va. 1974), was unavailing to establish the state action requirement because in that case, the plaintiff alleged that the private defendants had conspired with governmental actors to falsely arrest him.  Although a conspiracy between official and private actors is one means through which the state action requirement can be satisfied, plaintiff did not allege in the present case such an agreement between the police and defendants to violate plaintiff's rights.  Instead, he contended that defendants had misled the police with false statements and phony documents.
    
    
      3
      2. Nor did plaintiff state a claim under 42 U.S.C. § 1985(2) for conspiracy to obstruct state court proceedings because plaintiff failed to allege that defendants were motivated by any class-based, invidiously discriminatory animus.   Hahn v. Sargent, 523 F.2d 461, 469 (1st Cir. 1975) (class-based, invidiously discriminatory animus is required for liability under § 1985(2) for conspiring to obstruct justice in state court proceedings), cert. denied, 425 U.S. 904 (1976).
    
    
      4
      3. If plaintiff intended to assert a state law tort action for false arrest and false imprisonment, plaintiff did not allege diversity jurisdiction and failed to establish any basis for the federal district court to exercise jurisdiction over state law tort claims.
    
    
      5
      Affirmed.
    
    